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 7
 8                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA
 9
10   COREY LEASHORE, individually,                  Case No.: CV2019-02912-PHX-SMB
11
                   Plaintiff,                           STIPULATION FOR DISMISSAL
12                                                           WITH PREJUDICE
     v.
13
14   USHIO AMERICA, INC. a foreign corporation;
     CHRISTOPHER ATKINSON; JOHN DOE
15   DRIVER, an individual; JOHN DOES 1-5;
     JANE DOES 1-5; BLACK CORPORATIONS
16
     1-5; and WHITE PARTNERSHIPS 1-5,
17
                   Defendants.
18
            IT IS HEREBY STIPULATED AND AGREED by and between the parties
19
     hereto, through their respective counsel, that the above cause of action be dismissed with
20
     prejudice as to all parties and as to all claims, each party to bear their own costs and
21
     attorneys’ fees.
22
            DATED this 29th day of August, 2019.
23
24                                            Lewis Roca Rothgerber Christie, LLP

25
                                              By: /s/ Adam Reich, Esq.
26                                              Adam Reich, Esq.
                                                Attorney for Defendants
27
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          Case 2:19-cv-02912-SMB Document 22 Filed 08/29/19 Page 2 of 2



 1                                            PHILLIPS LAW GROUP, P.C.
 2
                                              By: /s/ Montana Thompson, Esq.
 3                                               M. Montana Thompson, Esq.
                                                 Attorney for Plaintiff
 4
 5                               CERTIFICATE OF SERVICE
 6
           I hereby certify that on this 29th day of August 2019, I caused the foregoing
 7
 8   document to be filed electronically with the Clerk of the Court through the CM/ECF

 9   System for filing; and served on counsel of record via the Court’s CM/ECF system.

10
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11
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14   Attorneys for Defendant

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16   By: /s/ Dora Alcala
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